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                     Separation as a Risk Factor for
                  Victims of Intimate Partner Violence:
                       Beyond Lethality and Injury
                                                                               A Response to Campbell

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                                               Keywords:                divorce; separation; victimization; intimate partner violence; women


           Between 25% and 41% of women report a lifetime history of physical or sex-
           ual assault by an intimate partner (Richardson et al., 2002; Tjaden &
           Thoennes, 2000; Wilt & Olson, 1996), and the health and mental health con-
           sequences of partner victimization are significant (Kilpatrick, Acierno,
           Resnick, Saunders, & Best, 1997; Resnick, Acierno, & Kilpatrick, 1997).
           One obvious solution to ending the violence is for a woman to leave or sepa-
           rate from the violent partner. In fact, many, if not most women in abusive rela-
           tionships do eventually leave violent relationships (Amato & Rogers, 1997;
           Bradbury & Lawrence, 1999; Testa & Leonard, 2001). However, leaving a
           violent partner does not always stop the violence. In fact, separation has been
           identified as an important risk factor for lethal violence and injury (Camp-
           bell, 1995; J. Campbell et al., 2003; McFarlane et al., 1999). Although lethal
           violence and injury are extremely important risks and considerations, there
           are other often-overlooked risks that women must face when they separate
           from a violent partner that should be considered in research and interven-
           tions. More specifically, women separating in the context of victimization are
           at high risk for stress, mental health, and health problems; have increased
           conflict over the children and concern for child safety; and have economic,
           structural, psychological, and social barriers to help seeking. All of these fac-
           tors may substantially affect a woman’s separation adjustment, well-being,
           and ability to maintain separation from a violent ex-partner.


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           Increased Risk for Stress, Mental Health,
           and Health Problems

               Separation is a common life transition with approximately 50% of first
           marriages and about 60% of second marriages ending in divorce; and more
           than 60% of cohabitant relationships ending in separation within a 5-year
           period (Bumpass, Sweet, & Castro Martin, 1990; Cherlin, 1992; Krieder &
           Fields, 2002; Smock & Manning, 1997; Wu & Balakrishman, 1995).
           Although separation is common, it is generally a stressful life event and is
           associated with increased stress levels and negative mental health and health
           problems for women (Logan, Walker, Jordan, & Campbell, 2004). More spe-
           cifically, changes in finances, social networks, employment, residence,
           neighborhoods, childcare, and schools are common for families during the
           course of a separation. For example, separation usually diminishes the eco-
           nomic standing of women (Amato, 2000; Kreider & Fields, 2002; McKeever
           & Wolfinger, 2001) and decreases social support systems (Marks, 1996;
           O’Connor, Hawkins, Dunn, Thorpe, & Golding, 1998; C. Ross, 1995). In
           addition, separation is often associated with increased demands and com-
           plexity. For example, single parents, most of whom are mothers (86%)
           (Fields & Casper, 2001; Sorensen & Zibman, 2000), are more likely to expe-
           rience stress and role strain (Amato, 2000; Hope, Rodgers, & Power, 1999;
           Johnson & Wu, 2002) because they are single-handedly trying to keep the
           family together economically, psychologically, and physically (e.g., appoint-
           ments, school responsibilities, extracurricular activities) especially com-
           pared to married mothers (Kaiser Family Foundation, 2003; Ladd &
           Zvonkovic, 1995). Furthermore, conflict in separating and divorcing couples
           is common especially during property and child custody negotiations
           (Buchanan & Heiges, 2001). It is likely that these stressors are related to the
           increased risk of health and mental health problems often reported for
           separating women (Logan, Walker, Jordan, & Campbell, 2004).
               In addition to the stressors, health, and mental health problems that are
           experienced during a typical separation, women leaving abusive relation-
           ships often experience mental health and health problems from the violence
           during the relationship (Logan, Walker, Cole, & Leukefeld, 2002; Logan,
           Walker, Jordan, & Leukefeld, 2004). Partner violence experiences have been
           associated with mental health problems such as anxiety, post-traumatic stress
           disorder (PTSD), and depression (Golding, 1999; Holtzworth-Munroe,
           Smultzler, & Sandin, 1997; Weaver & Clum, 1995). Research suggests that
           the mental health effects of partner victimization can last for years even after
           the violence has ended for some women depending on the level of cumulative
           stress over time (Anderson & Saunders, 2003; Anderson, Saunders,




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           Yoshihama, Bybee, & Sullivan, 2003). Women with histories of partner vio-
           lence also report health problems such as acute injuries, chronic health prob-
           lems, and stress-related health problems (J. Campbell, Woods, Chouaf, &
           Parker, 2000; Dutton, Haywood, & El-Bayoumi, 1997; Eby, Campbell,
           Sullivan, & Davidson, 1995; Resnick et al., 1997).
              Furthermore, ongoing violence can exacerbate health, mental health, and
           stress levels. One study found that 95% of women leaving violent relation-
           ships continued to experience psychological abuse and 39% experienced
           continued physical violence after separating (Hotton, 2001). Several longitu-
           dinal studies suggest that women who experience frequent and ongoing vio-
           lence have higher rates of psychological distress than women not experienc-
           ing ongoing violence (R. Campbell, Sullivan, & Davidson, 1995; Mechanic,
           Uhlmansiek, Weaver, & Resick, 2002; Mertin & Mohr, 2001).

           Increased Conflict About the Children
           and Concern for Child Safety
               Although conflict and threats of custody disputes may occur in separating
           couples regardless of violence history, a history of violence changes the con-
           text of the custody disputes and the separation experience (Logan, Walker,
           Jordan, & Campbell, 2004). There is some evidence suggesting that violent
           ex-partners sometimes use the court system by disputing custody to continue
           to try to control, intimidate, and harass their partners (J. Campbell, Rose,
           Kub, & Nedd, 1998; Jaffe, Lemon, & Poisson, 2003). One study found that
           almost 40% of women leaving partners who were abusive were afraid during
           custody and child support negotiations (Kurz, 1996). In addition, women
           leaving partners who were abusive often experience threats to harm or abduct
           the children (McCloskey, 2001; Mechanic, Weaver, & Resick, 2000), and
           these threats are especially salient given the research suggesting the overlap
           between partner violence and child abuse (30% to 60% of cases)
           (McCloskey, Figueredo, & Koss, 1995; S. Ross, 1996). Thus, not only are
           women concerned for their own safety, they are also often concerned for their
           children’s safety. Even so, there is some evidence suggesting the criminal
           justice system does not consider mother’s or the child’s safety in making cus-
           tody and visitation determinations (Logan, Walker, Horvath, & Leukefeld,
           2003; Logan, Walker, Jordan, & Horvath, 2002), and certain custody and vis-
           itation arrangements may actually provide opportunities for a violent ex-
           partner to continue to harass his ex-partner (Henderson, 1990; Hilton, 1992;
           Wuest, Ford-Gilboe, Merritt-Gray, & Berman, 2003). Furthermore, the legal
           system does not always protect women from partner violence that may
           increase stress levels even further during this transition period (Logan,




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           Evans, Stevenson, & Jordan, in press; Logan, Shannon, & Walker, in press;
           Logan, Stevenson, Evans, & Leukefeld, 2004).

           Economic, Structural, Psychological,
           and Social Barriers
              Economic strain is a significant issue for women and mothers who are
           separating in general; however, poverty has particularly been associated with
           victimization experiences of all types including intimate partner violence
           victimization (U.S. Department of Justice, 1997, 2000). In addition, women
           with partner abuse histories often have employment problems because of the
           violence that may affect their economic stability, independence, and status
           even after separating (Swanberg & Logan, in press). Women with partner
           violence histories often experience numerous barriers to accessing health
           and mental health care as well as more obvious resources such as housing and
           legal resources (Logan, Evans, Stevenson, & Jordan, in press; Logan et al., in
           press; Logan, Stevenson et al., 2004). Furthermore, there are many psycho-
           logical barriers and difficulties women must contend with including psycho-
           logical adjustment to the separation and the loss of the relationship as well as
           coming to terms with the victimization experiences (Anderson & Saunders,
           2003; Logan, Walker, Jordan, & Campbell, 2004). In addition, almost every
           woman who has experienced physical and sexual abuse has also experienced
           psychological abuse (Follingstad, Rutledge, Berg, Hause, & Polek, 1990).
           However, psychological abuse is extremely harmful and creates substantial
           barriers for women regarding their self-worth and self-efficacy (Arias &
           Pape, 1999; Marshall, 1999; Sackett & Saunders, 1999). Research also
           shows that cognitive difficulties can occur as a result of chronic stress,
           threats, fear, and mental health problems that can impair decision making,
           cognitive appraisals of threats and responses to threats, and the ability to
           maintain separation (Logan, Walker, Jordan, & Campbell, 2004). Finally,
           women with victimization histories may be socially isolated because of the
           violence or because of embarrassment and stigma that may be a significant
           barrier in help seeking and adjustment (Logan, Walker, Jordan, & Campbell,
           2004).

              Gaps in the literature. Understanding there are risks for women separat-
           ing from partners who are violent beyond lethality and injury is an important
           step in furthering research and interventions for intimate partner violence
           victims. However, there are several gaps in the literature that need to be
           addressed with research to facilitate interventions. First, the literature on sep-
           aration for women has been developed in isolation from the victimization lit-




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           erature; while at the same time, the victimization literature has paid little
           attention to the separation literature. Often, separation is seen as so-called the
           answer to ending the violence and/or as a normal transition. However, inter-
           ventions cannot be developed without a more clear understanding of this
           important and risky transition time for women separating in the context of
           victimization. Second, more information is needed to understand the contex-
           tual differences within which separation experiences occur. For example,
           examining separation in the context of victimization and how cultural norms
           may influence the separation process is important. In addition, understand-
           ing differences among women separating from cohabitant partners who are
           violent and violent marital partners may be important in understanding the
           separation process. Moreover, understanding how community resources
           may hinder or facilitate separation in the context of victimization and indi-
           vidual outcomes is critical. Finally, theoretical models are greatly needed to
           guide future research as well as interventions. However, it is critical that these
           models include contextual and individual factors as well as allow for a range
           of individual responses to both separation and victimization experiences
           (Logan & Walker, 2004).


                                                     CONCLUSION

              Although separation is a commonly experienced life transition, it is gener-
           ally a stressful life event and is associated with negative mental health and
           health problems for women regardless of victimization history. The research
           clearly suggests that separation is a risk factor for lethal violence and injury;
           however, separation for women leaving partners who are violent poses many
           risks beyond lethality and injury that should be considered in research and
           interventions. The full spectrum of risks cannot be addressed without
           expanding the knowledge base regarding separation in the context of victim-
           ization. Understanding the dimensions and critical issues women face when
           separating from an ex-partner who is violent could make a substantial differ-
           ence in their individual adjustment and potentially to societal cost over time.


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              tective orders. She has completed studies in the area of intimate partner violence and
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              project and a state data infrastructure project. He is a co-investigator on an NIAAA study
              of alcohol use and health among domestic violence victims. He serves as a member of the
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              Violence and Sexual Assault in Kentucky. He has published in the areas of substance
              abuse and domestic violence.




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